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 4
                                   UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 6
         UNITED STATES OF AMERICA,                              CASE NO. CR23-05034-RJB
 7
                                  Plaintiff,                    ORDER OF RECUSAL
 8               v.

 9       FATIU ISMAILA LAWAL,

                                  Defendant.
10

11
             This matter comes before the Court on review of the file. It appears to the Court that
12
     there is a potential conflict requiring that the undersigned recuse himself from further
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     participation in the case.
14
             Therefore, it is now
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             ORDERED that the undersigned Judge hereby recuses himself from further participation
16
     in this case, and it is
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             FURTHER ORDERED that the Clerk reassign the case to a different judge.
18
             The Clerk is directed to send uncertified copies of this Order to all counsel of record and
19
     to any party appearing pro se at said party’s last known address.
20
             Dated this 9th day of December, 2024.
21

22

23
                                               A
                                               ROBERT J. BRYAN
24                                             United States District Judge


     ORDER OF RECUSAL - 1
